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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   -----------------------------------------------------------------X
   JOSE GONZALEZ,                                                        Civil Action No.:

                                      Plaintiff,
                    -against-                                            COMPLAINT


   MERCANTILE ADJUSTMENT BUREAU,                                         DEMAND FOR JURY TRIAL

                                      Defendant .

   ------------------------------------------------------------------X

            Plaintiff JOSE GONZALEZ, (“Plaintiff”), by and through his attorneys, The Law

   Office of Alan J. Sasson, P.C., as and for his Complaint against the Defendant(s),

   MERCANTILE ADJUSTMENT BUREAU (hereinafter referred to as “Defendant”),

   respectfully sets forth, complains and alleges, upon information and belief, the following:

                         INTRODUCTION/PRELIMINARY STATEMENT

            1.      Plaintiff brings this action on his own behalf for damages and declaratory and

   injunctive relief arising from the Defendant’s violation(s) of §1692 et seq. of Title 15 of the

   United States Code, commonly referred to as the Fair Debt Collections Practices Act

   (“FDCPA”).

                                                   PARTIES

            2.      Plaintiff JOSE GONZALEZ is a resident of the State of New York, residing at

   90-14 Pitkin Avenue, Ozone Park, New York 11417.

            3.      Defendant MERCANTILE ADJUSTMENT BUREAU is a New York

   corporation with their main office at 165 Bell Drive, Suite 100, Williamsville, New York

   14221.

            4.      Plaintiff is a “consumer” as the phrase is defined and used in the FDCPA
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   under 15 USC §1692a(3).

           5.     The Defendant is a “debt collector” as the phrase is defined and used in the

   FDCPA under 15 USC §1692a (6).

                                  JURISDICTION AND VENUE

           6.     The Court has jurisdiction over this matter pursuant to 28 USC §1331, as well

   as 15 USC §1692 et seq. and 28 U.S.C. §2201. If applicable, the Court also has pendent

   jurisdiction over the state law claims in this action pursuant to 28 U.S.C. §1367(a).

           7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                            FACTUAL ALLEGATIONS

           8.     Plaintiff repeats, reiterates and incorporates the allegations contained in

   paragraphs numbered “1” through “7” herein with the same force and effect as if the same

   were set forth at length herein.

           9.     Upon information and belief, Defendant, on behalf of a third-party, began

   efforts to collect an alleged consumer debt from the Plaintiff.

           10.    Upon information and belief, and better known to the Defendant, the

   Defendant began its collection efforts and campaign of communications with the Plaintiff

   sometime in October, 2013 by leaving messages at his home telephone number 718 551

   7268.

           11.    On October 10, 2013, Plaintiff placed a telephone call to Defendant to request

   that the telephone calls cease and was connected to a representative of Defendant who

   identified himself as “Nathanial Mackless.”

           12.    Mr. Mackless informed Plaintiff that the debt was owed to a service provider.

   Plaintiff did not believe the account was his. Mr. Mackless asked Plaintiff if he had ever
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   lived at an address which Plaintiff said he had and Mr. Mackless said, “Yeah, this is your

   account, [Plaintiff], it’s from [creditor], your information matches.” Plaintiff re-affirmed that

   he did not believe the account was his and requested that Defendant not call him anymore.

   Mr. Mackless responded, “I mean, it’s your account, I mean you’re in debt, Mr. [Plaintiff].”

   Plaintiff repeated his belief that the account was not his and his request for the calls to cease

   which was disregarded by Mr. Mackless who continued, “You’re being credit reported,

   you’re in collections, you don’t want to take care of this matter?” Plaintiff stated for a fourth

   time that he did not believe the account was his, to which Mr. Mackless insisted, “It IS your

   account, it’s your name, your address, your phone number, your information.” Plaintiff

   explained that he has a common name which often causes confusion, to which Mr. Mackless

   replied, “You’re telling me a lot of [Plaintiff’s name]s live at __________?” Plaintiff asked

   Mr. Mackless to please stop calling him. Mr. Mackless replied, “So you’re telling me you

   want to remain in collections, not receive any more phone calls and have this negatively

   affect you?” Plaintiff asked again to please stop calling. Mr. Mackless replied, “Sure, I’ll

   accommodate that request, thanks a lot, Mr. [Plaintiff], okay, buddy?”

          13.     On or about November 1, 2013, Plaintiff discovered that Defendant had

   placed his account with national collection bureaus. On November 1, 2013, Plaintiff placed a

   telephone call to Defendant and was connected to a representative of Defendant who

   identified himself as “Larry Bowsky” who was unable to find Plaintiff’s information. After

   multiple questions and placing Plaintiff on hold, over six minutes later, Mr. Bowsky was able

   to locate Plaintiff’s information by asking for his telephone number and confirmed to

   Plaintiff that Defendant had no record of his call or conversation with “Nathanial Mackless”

   wherein he disputed that the account was his.
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          14.     Plaintiff placed a third telephone call to Defendant on November 4, 2013 and

   was connected to a representative who identified herself as “Renee.” Renee, like Mr.

   Bowsky, was also unable to locate Plaintiff’s information through his name, Social Security

   number or account number on his credit report and placed Plaintiff on hold for many minutes

   while she conferred with her supervisor and others. Over ten minutes waiting, Renee

   confirmed to Plaintiff that Defendant had no record that he had disputed the account as not

   being his but informed Plaintiff, “No, it just shows that it’s active.”



                                      FIRST CAUSE OF ACTION
                                       (Violations of the FDCPA)

          15.     Plaintiff repeats, reiterates and incorporates the allegations contained in

   paragraphs numbered “1” through “14” herein with the same force and effect as if the same

   were set forth at length herein.

         16.      15 USC §1692 d – preface prohibits a debt collector from engaging in any

   conduct the natural consequence of which is to harass, oppress or abuse any person in

   connection with the collection of a debt.

          17.     In violation of 15 USC §1692 d – preface, Defendant trained and/or

   sanctioned abusive and rude behavior displayed by Defendant’s representative “Nathanial

   Mackless,” with whom Plaintiff spoke on October 10, 2013, who refused to hear Plaintiff’s

   assertion that he did not believe the account in question was his so that Plaintiff was obliged

   to repeat his dispute and his request that telephone calls from Defendant cease over five

   times in the course of the conversation. From the moment Plaintiff expressed doubt that the

   account was his, Mr. Mackless proceeded to pressure Plaintiff into admitting it was his,

   adopting a rude and insultingly manner, stating, “I mean, it’s your account, I mean you’re in
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   debt, Mr. [Plaintiff]” and “You’re being credit reported, you’re in collections, you don’t want

   to take care of this matter?” (implication: is something wrong with you?) and “It IS your

   account, it’s your name, your address, your phone number, your information” and when

   Plaintiff suggested that his name was frequently confused, Mr. Mackless sarcastically

   retorted, “You’re telling me a lot of [Plaintiff’s name]s live at __________?” (implication:

   you’re lying). Mr. Mackless responded to Plaintiff’s many requests for calls to cease with

   the implied threat to his credit, “So you’re telling me you want to remain in collections, not

   receive any more phone calls and have this negatively affect you?”             (implication: is

   something wrong with you?) Finally, when his abusive, insulting and aggressive tactics were

   ineffective in dissuading Plaintiff from his dispute, Mr. Mackless concluded, in a sarcastic

   tone, “Sure, I’ll accommodate that request, thanks a lot, [Plaintiff], okay, buddy?” The

   telephone exchange between Mr. Mackless and Plaintiff of October 10, 2013 exemplifies

   Defendant’s collection policy, one which endeavors to reject disputes by verbally abusing

   and denigrating consumers and discounting their rights.

          18.     15 USC §1692 e – preface and e (10) prohibits the use of any false, deceptive

   or misleading representations in connection with the collection of a debt.

          19.     Defendant violated 15 USC §1692 e – preface when Defendant’s

   representative, “Nathanial Mackless,” deceptively attempted to convince Plaintiff that he had

   to “take care of” an account he was disputing that he owed because he was being credit-

   reported and the debt would “negatively affect you.” Mr. Mackless adamantly insisted,

   without verification, that the account was Plaintiff’s and could not possibly be in error and

   falsely repeated Plaintiff’s requests back to him inaccurately, asking, “You’re telling me a lot

   of [Plaintiff’s name]s live at __________?” “So you’re telling me you want to remain in
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   collections, not receive any more phone calls and have this negatively affect you?” in a

   deliberate effort to distort what Plaintiff was saying.

           20.    15 USC §1692 e(7) prohibits the false representation or implication that the

   consumer committed any crime or other conduct in order to disgrace the consumer.

           21.    The Defendant violated 15 USC §1692 e(7) by training and/or allowing its

   representative, “Nathanial Mackless,” to make the assumption that Plaintiff owes a debt

   which he is questioning and aggressively berating him with the shaming accusation, “…I

   mean, you’re in debt, Mr. [Plaintiff]” and “You’re being credit reported, you’re in

   collections, you don’t want to take care of this matter?” In continued efforts to disgrace

   Plaintiff, Mr. Mackless pretended to repeat Plaintiff’s verbal dispute but made it sound as

   though Plaintiff was being irrationally self-destructive by asking, “So you’re telling me you

   want to remain in collections, not receive any more phone calls and have this negatively

   affect you?” Defendant’s continued efforts to disgrace Plaintiff by painting him as foolish

   and dishonest clearly exemplify a strategy specifically designed to cause shame and

   embarrassment to consumers for the purpose of advancing Defendant’s debt collection

   activities.

           22.    15 USC §1692 e (8) states that a debt collector may not communicate to any

   person credit information which is known or which should be known to be false, including

   the failure to communicate that a disputed debt is disputed.

           23.    Defendant is in violation of 15 USC §1692 e (8) by receiving notification that

   Plaintiff was disputing the subject debt and not reporting to the appropriate credit bureau(s)

   that Plaintiff’s alleged debt was in dispute.

           24.    15 USC §1692 f –preface prohibits a debt collector from using any unfair or
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   unconscionable actions in connection with the collection of a debt.

          25.     The Defendant violated 15 USC §1692 f – preface by unfairly and

   unconscionably allowing employees such as “Nathanial Mackless” to inform Plaintiff that an

   account he was disputing was absolutely, without question his and continually, unfairly and

   aggressively questioning the rationality and validity of Plaintiff’s requests, implying that

   Plaintiff had no right to dispute and that his dispute meant that he was willingly allowing the

   debt to be credit reported and to “negatively affect” him. Defendant then unfairly failed to

   communicate Plaintiff’s dispute to credit reporting agencies.

          26.     The Defendant further violated the foregoing provisions by not taking the

   Plaintiff’s oral dispute, as evidenced by the two subsequent conversations where the

   Defendant affirmed that the account did not reflect that a dispute was recorded.



                                  SECOND CAUSE OF ACTION
                        (Violations of the FDCPA and the Dodd-Frank Act)


          27.     Plaintiff repeats, reiterates and incorporates the allegations contained in

   paragraphs numbered “1” through “26” herein with the same force and effect as if the same

   were set forth at length herein.

          28.     According to the Consumer Financial Protection Bureau Bulletin 2013-07,

   “Under the Dodd-Frank Wall Street Reform and Consumer Protection Act (Dodd- Frank

   Act), all covered persons or service providers are legally required to refrain from committing

   unfair, deceptive, or abusive acts or practices (collectively, UDAAPs) in violation of the

   Act.” The CFPB Bulletin 2013-07, Section C defines unfair and abusive practices to include

   the misrepresentation about whether information about a payment or non- payment would be
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   furnished to a credit reporting agency and misrepresenting to consumers that their debts

   would be waived or forgiven if they accepted a settlement offer, when the company does not,

   in fact, forgive or waive the debt.

            29.   Defendant violates the Dodd-Frank Act by communicating through

   Defendant’s representative, “Nathanial Mackless,” that Plaintiff was being “credit-reported”

   and that he needed to pay his debt or it would “negatively affect you,” an implied threat that

   Plaintiff’s payment to Defendant would affect his credit score.

                                 DEMAND FOR TRIAL BY JURY

            30.   Plaintiff hereby respectfully requests a trial by jury for all claims and issues in

   its Complaint to which it is or may be entitled to a jury trial.

                                         PRAYER FOR RELIEF

            WHEREFORE, Plaintiff demands judgment from the Defendant as follows:

                  A.    For actual damages provided and pursuant to 15 USC
                  §1692k (a) (1);

                  B.    For statutory damages provided and pursuant to 15 USC
                  §1692(2)(A);

                  C.   For statutory damages provided and pursuant to 15
                  USC§1692k(2)(B);

                  D.    For attorneys’ fees and costs provided and pursuant
                  to15USC§1692(a)(3);

                  E.   A declaration that the Defendant’s practices violated the
                  FDCPA;

                  F.      For any such other and further relief, as well as further costs,
                          expenses and disbursements of this action, as this Court       may deem
                  just and proper.

   Dated:         New York, New York
                  March 11, 2014
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                                Respectfully submitted,


                               By:/s/ Yitzchak Zelman__________
                                Yitzchak Zelman, Esq. (YZ5857)
                                LAW OFFICE OF ALAN J. SASSON, P.C.
                                1669 East 12th Street, 2nd Floor
                                Brooklyn, New York 11229
                                Phone:     (718) 339-0856
                                Facsimile: (347) 244-7178

                                Attorney for the Plaintiff JOSE GONZALEZ
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    To:   Mercantile Adjustment Bureau
          165 Lawrence Bell Drive, Suite 100
          Williamsville, New York 14221

          (Via Prescribed Service)

          Clerk,
          United States District Court, Eastern District of New York
          (For Filing Purposes)
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK                       CASE NO.:


    JOSE GONZALEZ,

                                     Plaintiff,

               -against-


    MERCANTILE ADJUSTMENT BUREAU,


                                     Defendant(s).



                                _________________________


                                       COMPLAINT

                                _________________________


                           M. HARVEY REPHEN & ASSOCIATES, P.C.
                                 708 Third Avenue, 6th Floor
                                  New York, New York 10017
                                  Phone:     (212) 796-0930
                                  Facsimile: (212) 330-7582
